PRon.lz Case 2:05-Cr-20063-SHI\/| Document3 Filed 06/13/05 PagelofS Page|DB

for

(`Rev. 3/88)

UNITED STATES DI`STRICT COURT

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WESTERN DISTRICT OF TENNESSEE

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U.S.A. vs. TAMARA MURRY Docket No.2:0

 

 

Petition on Probation and Supervised Release

COMES NOW CHRlSTY J. HENSON PROBATION OFFICER OF THE C()URT presenting an
official report upon the conduct and attitude of Tamara Mggy who was placed on supervision by the Honorable
James M. Moody, sitting in the Court at Little Rock AR on the H day of November 2004 who fixed the period
of supervision at two {2) years, and imposed the general terms and conditions theretofore adopted by the Court and
also imposed Special Conditions and terms as follows:

 

 

 

( l) The defendant shall disclose iinancial information upon request of the U.S. Probation Otiice, inciuding, but
not limited to, loans, lines of credit, and tax returns. This also includes records of any business With which
the defendant is associated No new lines of credit shall be established without prior approval of the U.S.
Probation Oliice.

(2) The defendant shall pay restitution in the amount of $5,500.00 (Balance: $5,500.00)
** Transfer of Jurisdiction accepted on March l, 2005; case assigned to Judge Samuel H. Mays, Jr.
RESPECTFULLY PRESENTING PETI'I`ION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

On January 23, 2005, Tamara Murry was arrested by the Memphis Police Department for eight (8) counts of
Forgery $1,000.00 or Less. She was later convicted of the lesser charge, Criminal Attempt Forgery and was
sentenced to ll months and 29 days ofjaii time with l l months and 27 days suspended She was given credit for
two days in custody and was placed on Probation for the remainder of her sentence with a $500 fine and 3 days of
community service. Upon close review of the matter it was felt a stable structure driven environment that provided
the opportunity to attend vocational training would benefit Ms. Murry and her child. Ms. Murry agreed and decided
to waive her right to a hearing before the Court with respect to this violation and has agreed to a modification of
her Specia.l Conditions of Probation Attached is the Probation Form 49 Waiver of Hearing to Modify Conditions
of Supervision.

PRAYING THAT THE COURT WILL ORDER the defendant to serve four (4) months in a halfway house at
the direction of the Probation Officer.

 

 

 

 

ORDER OF COURT y Resped_fu

Considered and ordered this / ° H\ day of '?/z/A zip/y w

~‘l'wv-, 20 3 and ordered filed and made a chas “ . ended

part of the records in the above case. Unit es Probation Ot`ficer
y%%` Place: Memnhis, 'IN

United States District fudge Date; June 6. 2005

Tth document entered orr the docket hee m compliance
with Hu|e 55 and/or 32(1:)) FFiCrP on §§ ' ii Q:

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rs

Um'ted States District Court
wEsTERN District TENNEssEE

Waiver of Hearing to Modify Conditions
of Probation/Supervised Re|ease or Extend Term of Supervision

l have been advised and understand that l am entitled by law to a hearing and assistance of counsei
before any unfavorable change may be made in my Conditions of Probation and Supervised Release or my
period of supervision being extended By "assistance of counse|," l understand that l have the right to be
represented at the hearing by counsel of my own choosing if| am able to retain counsel. l also understand
that l have the right to request the court to appoint counsel to represent me at such a hearing at no cost to
myself if| am not able to retain counsel of my own choosing

| hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. l also agree to the
following modification of my Conditions of Probation and Supervised Re|ease or to the proposed extension
of my term of supervision:

The defendant shall serve four (4) months in the Halfway House at the direction of the
Probation O#icer.

 
  
 

 
 

. Signed:
ENSON

jon Officer

Tamara Murry
Probationer

  

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 iii
case 2:05-CR-20063 was distributed by faX, mail, or direct printing on
Juiie 13, 2005 to the parties listed.

 

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

